
Upon consideration of the petition filed by the State of NC on the 18th day of October 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the, following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of December 2007."
Upon consideration of the petition filed on the 18th day of October 2007 by the State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of December 2007."
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the State of NC on the 18th day of October 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 6th day of December 2007."
